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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-1349

RICHARD GRIGSBY, CHERYL GRIGSBY,
and ROCKY MOUNTAIN MEMORIES, INC.

          Plaintiffs,

v.

ESTES PARK, Colorado,
a Colorado Municipal Corporation


          Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


          Plaintiffs, Richard “Rick” Grigsby, Cheryl Grigsby, and Rocky Mountain Memories, Inc.

(collectively, “Plaintiffs”), by and through their undersigned counsel, for their Complaint against

Defendant the town of Estes Park, Colorado (“Defendant” or “Town”), allege as follows:

                                         INTRODUCTION

     1.   Local Title 5 Business Regulations and Licensing of the Estes Park Municipal Code

          (“Title 5”), as recently amended by Ordinance 02-22 (“Ordinance 02-22”) on March 22,

          2022, has morphed into an extraordinary act of government overreach and is not

          conferred by state statute or otherwise by necessary implication.

     2. Title 5, as amended, is arbitrary in its very nature as it impacts only those property

          owners who rent their vacation homes for 30 days or less (“short-term rentals” or

          “STRs”) but not those who rent their homes for one additional day (30 days or more or

          “long-term rentals” or “LTRs”).
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  3. Title 5, as amended, is a violation of Equal Protection and Due Process, on its face and as

     implemented, as it applies to homeowners in the Town and is further a violation of Equal

     Protection, Due Process, the Contracts Clause, and the Commerce Clause as applied to

     Plaintiffs.

                      TITLE 5, AS AMENDED BY ORDINANCE 02-22

  4. The March 22, 2022 Ordinance 02-22 amendment to Title 5 imposed an annual “vacation

     home workforce housing regulatory linkage fee” (“Impact Fee”) (Title 5.20.120) in the

     amount of $1,390 on annual Vacation Home Rental Registrations (“Vacation Home

     Rental License”) (Title 5.20.030(6)). The annual fee commenced January of 2023, with

     the yearly amount to be adjusted annually for inflation. The Impact Fee is only charged to

     those who rent their homes for 30 days or less and is levied against existing licensed

     vacation homes as a condition of license renewal. The Impact Fee does not equally

     distribute the costs of workforce housing among the persons and businesses benefited

     thereby. The fee was not first submitted to a vote of the registered electors. The collected

     fees are to be deposited in a to be established “workforce housing enterprise fund” to

     fund Defendant’s unspecified, vague, “housing efforts,” roughly described as

     construction or acquisition of new housing units, purchasing deed restrictions on existing

     units, rental assistance programs, and/or defraying the costs to the Defendant of

     administering such programs. No details other than a vague reference to what the monies

     were to be used for is provided. A new “Workforce Housing Enterprise” is to

     “administer” the program and establish an Enterprise Fund (Title 5.21.060).

  5. The workforce housing need in the town of Estes Park is estimated to be in the hundreds

     of millions of dollars and affects almost all sectors of the economy in the Estes Valley.



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     See The Estes Valley Housing Needs Assessment & Strategic Plan, Root Policy

     Research, January 2023, page 44 stating “2,720 units will be needed by 2030 to address

     the current shortage of workforce housing and forecasted employment demand.” Hotels,

     accommodation units, grocery stores, gas stations, restaurants, gift shops, Rocky

     Mountain National Park, the town of Estes Park and effectively all other town business

     license holders rely on, directly or indirectly, seasonal workers to tend to the tourists who

     visit in the summer. Tourism is the main economic driver of the Town with over four

     and a half million visitors visiting Rocky Mountain National Park each year. Despite this

     very large problem of a shortage of workforce housing, that affects almost all business

     sectors in the Estes Valley, Defendant only placed the Impact Fee, on one narrow class of

     small business – those who rent their licensed vacation homes for less than 30 days.

     Neither, those who rent for one more day (30 or more days) nor all other business sectors

     are affected.   Upon information and belief, the Impact Fee will only generate $710,290

     in 2023 (calculated as 511 vacation homes charged the fee of $1,390), an amount wholly

     inadequate to solve overall housing shortages or remedy workforce housing, specifically.

     Workforce housing is a statewide issue, and its burden should be borne by the public at

     large.

  6. Defendant is a Colorado statutory town and has long been a tourist destination. Statutory

     municipalities possess only those powers that are expressly conferred by statute or exist

     by necessary implication. Statutes that grant statutory towns powers are strictly

     construed and any doubt as to a statutory municipality’s power must be resolved against

     it. (Estes Park Chamber of Commerce v Town of Estes Park, 199 P.3d 11 (2007), City of




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       Sheridan v City of Englewood, 609 P.2d 108, 109 (1980), City of Aurora v Bogue, 489

       P.3d at 1296 (1971)). Title 5, as amended, is not expressly authorized by state statute.

  7.   Defendant has the power to make its own ordinances, however, the ordinances must not

       be inconsistent with the laws of the state of Colorado. C.R.S. 31-15-103. Defendant’s

       power to establish terms for business licensing fees, workforce housing authorities, and

       impact fees for capital facilities is limited. The Ordinance is inconsistent with

       preempting Colorado statutory law regarding the establishment of capital facility impact

       fees (C.R.S 29-20-102 to 29-20-104.5), the establishment of workforce housing impact

       fees (C.R.S 29-1-204.5), the municipal power to regulate business and occupations via

       licensing (C.R.S.31-15-501(c)), and the legislative declarations on Regulatory

       Impairment of Property Rights (C.R.S. 29-20-201 et. seq.). Defendant currently levies

       only one other impact fee (“Fire Protection Fee”). The Fire Protection Fee is directed to

       the Estes Valley Fire Protection District and is collected under an Intergovernmental

       Agreement (IGA). While towns have the power to make their own ordinances provided

       they are not inconsistent with the laws of the state of Colorado (C.R.S. 31-15-103), the

       Fire Protection Fee is specifically authorized by Colorado statutes § 29-20-104.5 and

       §32-1-1002(1)(d.5) for special fire protection, rescue, and emergency services districts

       such as the Estes Valley Fire Protection District. This is an important distinction from

       the Impact Fee related to vacation homes because the Defendant is a statutory town and,

       as such, merely has the authority granted it by state statute or by necessary implication.

  8. The state legislature has also determined that, “[t]own boards must first adopt a resolution

       determining that the levy of fees will fairly distribute the costs of the authority’s activities




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     among persons and business benefited thereby and will not impose an undue burden on

     any particular group of persons or businesses.” (C.R.S. 29-1-204.5 (2)(e)(I))

  9. In enacting amendments to Title 5 in accordance with Ordinance 02-22, Defendant relied

     on Colorado Union of Taxpayers Foundation v. City of Aspen, 418 P.3d 506 (2018), for

     the proposition that a charge is not a tax if the primary purpose of the charge is not to

     raise revenue for general governmental purposes.

  10. In Colorado Union of Taxpayers Foundation v. City of Aspen, 2018 CO 36, the Colorado

     Supreme Court considered whether a $0.20 charge on paper bags is a tax subject to the

     Taxpayer’s Bill of Rights, finding that “the primary purpose behind Aspen’s charge is not

     to raise revenue; the primary purpose of the charge is to defray some of the costs of

     a comprehensive regulatory scheme aimed at improving environmental health and

     safety through a waste-reduction program,” and reached its conclusion, based in part,

     on a “study showing that the cost of subsidizing the recycling, collection, and disposal of

     plastic and paper bags in that market was $0.17 per bag. Aspen adjusted the cost to $0.20

     based on its distance to recycling markets, the smaller size of its waste stream,

     and community input.” Upon information and belief, Aspen’s power to regulate

     programs that support education and outreach on environmental sustainability was

     derived from C.R.S 31-15-711(J).

  11. The City of Aspen is a home rule municipality whereas the town of Estes Park is a

     statutory town and, as such, merely has the authority granted it by state statute or by

     necessary implication. Therefore, the Aspen case does not provide the statutory authority

     required for the Town to enact Ordinance 02-22. Title 5 Chapter 5.20.120(a)(9) provides

     a blanket statement that the Impact Fee “are fees, not taxes, because each fee is collected



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     from each vacation home licensee for the primary purpose of defraying the costs of

     mitigating the impact caused by the vacation home when engaging in an activity that is

     subject to the fee in an amount reasonably related to the impacts caused by the activity

     and the amount expended to mitigate that impact; and, additionally, because the fee is

     collected and expended to the benefit of the fee payer.” Plaintiffs will not receive any

     specific or particularized benefits from the Defendant as a direct result of paying the

     Impact Fee.

  12. Title 5 Chapter 5.20.120(a)(4) provides:

     “Vacation home rental operations rely on a sustained local workforce, which is essential

     not only to the vacation home rental operations directly but the tourism-based portion of

     the Town’s economy as a whole, on which vacation home rental operations depend.”

     Title 5 Chapter 5.20.120(a)(5) provides:

     “A fee on vacation homes is therefore appropriate both as a service to vacation home

     licensees to sustain a local workforce to their benefit, and also as part of a comprehensive

     regulatory program to defray the reasonable direct costs of vacation homes on workforce

     housing and the Town’s workforce housing program.”

  13. Neither Title 5 Chapter 5.20.120(a)(4) nor Title 5 Chapter 5.20.120(a)(5) establishes any

     distinction between vacation homeowners who rent their homes for 30 days or less or

     vacation homeowners who rent their homes for 30 days or more and therefore is absent a

     rationale that duration has an impact on a sustained local workforce, the alleged concern

     Title 5, as amended, purports to address.

  14. Placing a financial burden on only licensed vacation homeowners who rent their homes

     for 30 days or less is arbitrary as constructed. There is a lack of nexus between the



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     increased costs of services the Defendant must provide to STRs in relation to the impact

     on workforce housing due to STRs. There is also no detailed plan for how the funds will

     be used to offset any type of increased costs the Defendant will incur in relation to

     workforce housing. There is also no benefit to those who have STRs as a result of paying

     the Impact fee.

  15. Neither Title 5 Chapter 5.20.120(a)(4) nor Title 5 Chapter 5.20.120(a)(5) establishes any

     reason why the board felt that only vacation home owners that rent their homes for 30

     days or less should solely bear the burden of the workforce housing problem when almost

     all businesses in the Estes Valley depend on a seasonal workforce that require housing.

     The board also did not explain or otherwise justify why the costs of creating the

     workforce housing fee wasn’t distributed evenly over all business types that would

     benefit from additional workforce housing, such as hotels, gift shops, grocery stores,

     restaurants, vacation home owners that rent for 30 days or more, the Town itself, Rocky

     Mountain National Park and the like.

  16. The Impact Fee also does not bear a reasonable relationship to the direct or indirect costs

     to the Town of providing the service or regulating the activity of licensed vacation homes

     and is not reasonably related to the specific government expenditure.

          VACATION HOME RENTAL (SHORT TERM RENTAL) FEE STUDY

  17. Title 5, as amended, states the “Vacation Home Rental (Short Term Rental) Fee Study

     (“Study”) prepared by Root Policy Research and presented to the Board of Trustees on

     March 22, 2022 demonstrates that the continued operation of vacation homes rented 30

     days or less have a detrimental impact on the availability of workforce housing within the

     Town, and quantifies the impact, as well as the funds required to address the impact, at



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     one thousand three hundred ninety dollars ($1,390.00) per vacation home per year.

     Accordingly, the continued operation of vacation homes will cause the Town to incur

     costs of addressing workforce housing needs.” (Title 5.20.120).

  18. The Defendant relied solely on this “Vacation Home Rental (Short Term Rental) Fee

     Study” prepared by Root Policy Research (“Root Study”) when determining the amount

     of the Impact Fee. This study attempted to quantify the impact that STRs have on

     affordability and availability of housing options in the town of Estes Park. The dollar

     amount was determined by attempting to calculate the “affordability gap” created by

     every 100 STRs. The Root Study considers the impact STRs have on the actual value of

     homes but does not correlate this value with the actual increased costs to the Defendant

     for workforce housing (or anything else) due to any effect from STRs. The Root Study

     does not tie the impact of STRs on housing prices to any actual expenditures by

     Defendant. The Root Study does not analyze the impact of the Estes Valley becoming

     popular for other types of homeowners, such as full-time residents, retirees, second-home

     owners or long-term renters (30+ days). The Root Study does not consider the effect of

     new STRs compared to existing STRs in terms of an effect on housing prices. The Root

     Study does not consider the effect of Title 5 caps on STRs and general housing prices.

     The Root Study also does not find direct points of workforce housing impact or even

     consider other business types that require workforce housing for their employees. Despite

     the shortcomings of the Root Study in not considering or presenting any increased costs

     to Defendant due to STRs, the effect of existing STRs on workforce house, other business

     types that require workforce housing and the effect of any other type of home ownership

     options, Defendant enacted the Impact fee only on licensed vacation homes, including



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     those that existed prior to enactment of the Title 5, as amended. There are not adequate

     standards and criteria to ensure the Impact Fee is rationally and consistently applied.

     There was no finding the Impact Fee balanced the needs of the public with the rights and

     legitimate expectations of individuals or small business owners who operate STRs.

  19. The Root Study does not consider the financial impact of STRs, but rather applies an

     arbitrary fee only to STRs of $1,390 and builds the fee calculation based on the “typical”

     STR in Estes Park (defined as 2 bedrooms and 2 bathrooms rented 167 days per year at

     $366 per night generating $53,684 in revenue annually resulting in a 2.6% levy rate on a

     “typical” STR ($1,390/$53,684) but does not consider “atypical” tiny seasonal cabins like

     Plaintiffs’ Cabin # 3 that is a one room 300 sq. ft. studio that at the time of the Root

     Study was rented 142 days at $163 per night and generated $23,222 in annual revenue, an

     effective 6% levy rate on Plaintiffs ($1,390/$23,222)). The Root Study does not cite any

     legitimate basis to levy an annual rate 115% higher on certain homeowners compared to

     other homeowners. The Impact Fee is not proportional in nature or extent with the

     impacts of short-term vacation home use.

  20. The Root Study is arbitrary and fails to provide the required nexus to the increased cost to

     the Town as noted in Colorado Union of Taxpayers Foundation v. City of Aspen, 2018

     CO 36, and is absent how the Impact Fee, estimated to generate $710,290 in 2023, will

     lead to the “acquisition of housing units, construction of new units, purchase of deed

     restrictions on existing units, mortgage buydowns, and rent assistance programs;” and “to

     defray the costs to the Town of the foregoing,” in part because the Root Study fails to

     consider the effect of new STR units compared to existing licensed vacation homes in




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      terms of an effect on housing prices to address the need for workforce housing within the

      Town.

                        STATE INTEREST IN AFFORDABLE HOUSING

   21. The General Assembly in the State of Colorado has found and declared that, [h]ousing is

      increasingly not affordable for essential workers” and that there is “simply not enough

      capital available to finance the middle-income workforce housing, leaving a damaging

      void of housing supply…”. (CRS 29-4-1101(a) and (d))

   22. They have additionally suggested, “a mechanism is needed that will robustly increase the

      supply of affordable middle-income housing by raising large amounts of private sector

      capital to finance projects that can be placed into service quickly and efficiently.” CRS

      29-4-1101(e)

   23. They have declared that, “creation of the middle income housing authority is such a

      mechanism.” (CRS 29-4-1101(e))

   24. They have also declared that “[i]ncreasing affordable rental workforce housing … is a

      matter of statewide concern.” (CRS 29-4-1101(h))

               TITLE 5, AS AMENDED, AS IT PERTAINS TO PLAINTIFFS

   25. Plaintiffs Richard Grigsby and Cheryl Grigsby are long-time permanent residents of the

      Town and tax-payers in the Town. Plaintiffs Richard Grigsby and Cheryl Grigsby have

      resided full-time in the Town since 1997. They own and have fully restored three antique

      cabins located on a 0.1-acre tract within the historic district of the Town. Plaintiffs

      Richard Grigsby and Cheryl Grigsby have a management company called Rocky

      Mountain Memories, Inc. (“RMM”) that manages the three cabins at issue and conducts

      Plaintiffs’ lay hospitality ministry in the name of “This Mountain Life”. At the time of



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      purchase of the cabins in 2011 and throughout the restoration period, Plaintiffs were

      induced by Town policies to pursue a short-term vacation rental by owner business

      model. Without the inducements, Plaintiffs would not have purchased the property or

      restored it for exclusive short-term uses only. Plaintiffs designed and RMM manages

      each cabin to be compatible with the neighborhood, in terms of building scale, mass, and

      character, with low-intensity, low scale, residential uses only. Plaintiffs’ ten-year history

      of short-term rental operations have no complaints from neighbors. They received a

      Town Business License in 2013 that covered all three cabins. Plaintiffs rebuilt each

      cabin pursuant to Defendant-approved Short-term Residential building permits issued or

      extended on May 11, 2012 for Cabin #1, on April 13, 2016 for Cabin #2, and January 16,

      2019 for Cabin #3. Per the building permits, each cabin was recreated for less than 30

      day residential rental purposes. At the conclusion of each building permit, Plaintiffs

      applied for, paid the requisite filing fees, and were granted annual Vacation Home Rental

      Licenses on each cabin. (“Vacation home” means a residential dwelling unit that is

      rented, leased or occupied for accommodation purposes for compensation for terms of

      less than thirty (30) days, and includes any timeshare/fractional ownership without regard

      to occupancy length. See Title 5.20.020 Definitions). The first Vacation Home License

      was issued in 2016 on Cabin #1 for $300. By 2019 all three cabins were online and

      deriving short-term rental income. By then, Plaintiffs were paying annual Vacation

      Home licensing fees on all three based on number of bedrooms: $300 for Cabin #1, $300

      for Cabin #2, and $250 for Cabin #3. Plaintiffs completed the various town-required

      processes to obtain all necessary land use approvals, business permits, building permits,

      special use permits, certificate of occupancies, Vacation Home Licenses, and the like



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      prior to enactment of the Impact Fee amendment to Title 5. All of these processes

      required a significant investment of both time and money. All of these processes were

      completed prior to the Defendant amending Title 5 to include the Impact Fee.

   26. On December 30, 2022, Plaintiffs put the Defendant on notice that they were protesting

      the amendment related to payment of the Impact Fee and requested a hearing.

   27. On January 31, 2023, Plaintiffs applied and paid the 2023 Vacation Home License and

      Impact Fees for Cabins #1 ($300 + $1,390) and #2 ($300 + $1,390) “under protest and

      without prejudice.” Plaintiffs paid the Vacation Home License fee for Cabin #3 ($250)

      but did not pay the Impact Fee $1,390 and requested a fair hearing and due process.

   28. As a punitive action, two days later, on February 2, 2023, the Defendant revoked

      Plaintiffs’ Vacation Home License on Cabin #3 and threatened criminal action if Cabin

      #3 was rented without a new valid Vacation Home License in alleged violation of Title 5,

      as amended (Chapter 5.20.110(f)). The enforcement action is invalid as it was not based

      on a duly adopted law. In contrast to numerous other section of Title 5 (e.g., Title

      5.20.070 – Violation for failure to obtain and maintain the business license; refuse to

      make payment to the Town of the business license fee; operate a business, profession,

      occupation or accommodation, without the applicable license; or fail to complete the

      application process; Title 5.20.080 -Revocation of license (which shall not apply to

      vacation homes); and Title 5:20.110 -Additional provisions for vacation homes), Title 5,

      as amended, does not provide a mechanism specific to failure to pay the Impact Fee and

      does not specify that any monetary penalties for unpaid fees will be deposited to support

      the “Workforce Housing Enterprise.”




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   29. Currently, there is a moratorium on new vacation home licenses granted by Defendant.

      (Ordinance 16-21 enacted October 26, 2021) There is a significant waiting list for

      residents of the town in applying for the STR licenses. By revoking Plaintiffs license two

      days after receiving a request for a hearing, Defendant has effectively shut down one-

      third of Plaintiff’s small business, precluded a large portion of income for it and caused

      them immediate economic harm. Revocation of the Vacation Home Rental License also

      interfered with reservations, including reservations made by out-of-state residents, that

      had already been made by guests who had booked to stay in Cabin #3 during the summer

      season of 2023.

   30. In response to the immediate revocation of the Vacation Home Rental License for Cabin

      #3, Plaintiffs attempted to pay the Impact Fee on February 7, 2023, well within a typical

      10 day or more grace period for reinstatement of a property right consistent with other

      Town registrations and fees. (e.g., Title 5.20.80 – Revocation of License. If the business

      license fee is not paid in full within twenty (20) days of the date of the notice, the Town

      shall revoke the business license). On February 9, 2023, Plaintiffs were informed that

      late-payment was not accepted and the Vacation Home Rental License could not be

      renewed and/or cured by late payment.

   31. Given the above, it should come as no surprise that this vague and arbitrary law directed

      only to those licensed vacation homeowners who rent for less than 30 days far exceeds in

      scope and severity the financial burden imposed on any other type of vacation

      homeowner or business owner within the Town.




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                                            THE PARTIES

   32. Richard Grigsby and Cheryl Grigsby, each a Plaintiff, are residents, property owners, and

      tax payers in the town of Estes Park, Colorado. Rocky Mountain Memories, Inc. is a

      Colorado corporation with a mailing address of 1950 Cherokee Dr, Estes Park, Colorado

      80517 and the manager of real property in the town of Estes Park, Colorado.

   33. Defendant, town of Estes Park, is a statutory municipal corporation, organized to provide

      local governance for the town of Estes Park. It is a local government as defined by Colo.

      Const. art. X, § 20(2)(b).

                                    JURISCITION AND VENUE

   34. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 and 42 U.S.C.

      §1983 because Plaintiffs allege violation of their rights under the Constitution and laws

      of the United States.

   35. Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s

      claims arising under Colorado State Constitution because they are so related to the

      federal claims asserted in this action that they form part of the same case or controversy

      under Article III of the U.S. Constitution.

   36. The Court may declare the legal rights and obligations of the parties in this action

      pursuant to 28 U.S.C. §2201 because the action presents an actual controversy within the

      Court’s jurisdiction.

   37. This Court has concurrent jurisdiction over federal constitutional claims as held in

      Martinez v California, 444 US 277 (1980).

   38. Venue is proper under 28 U.S.C. § 1391 because the Defendant is located and resides in

      this judicial district and in the State of Colorado and because a substantial part of the



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       events giving rise to the claims for relief occurred in this judicial district, or in the

       alternative, because the Defendant is subject to personal jurisdiction in this district.

   39. In this action for declaratory and injunctive relief, Plaintiffs seek to vindicate their rights

       as property owners and tax payers in the town of Estes Park, Colorado to be free from

       vague, arbitrary, and irrational government regulation violative of their rights to equal

       protection and due process of law.

   40. Plaintiffs seek declaratory judgment that the Ordinance is unconstitutional on its face and

       as applied further entitling them to injunctive relief as to enforcement of the same.

   41. Alternatively, Plaintiffs seek reinstatement of their STR license upon payment of such

       Impact Fee.

                                        OVERVIEW OF CLAIMS

   42. Plaintiffs bring this action under a variety of State and Federal Constitutional violations

       and seek to vindicate the rights of all property owners who rent their vacation homes for

       30 days or less in the Town who are entitled to be free from vague, arbitrary, and

       irrational government regulation in violation of their rights to equal protection and due

       process of law.

                                  FIRST CAUSE OF ACTION
                     (Violation of State Preemption and Colorado Statutes)


   43. The Plaintiff repeat and reiterate each and every allegation set forth in Paragraph 1

       through 42 above as if said allegations were fully and at length set forth herein.

   44. Defendant is a Colorado statutory town and has long been a tourist destination. Statutory

       municipalities possess only those powers that are expressly conferred by statute or exist

       by necessary implication. (C.R.S. 31-15-103)



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   45. Statutory towns “shall have the powers, authority, and privileges granted by this title and

      by other law of this state together with such implied and incidental powers, authority, and

      privileges as may be reasonably necessary… All such powers, authority, and privileges

      are subject to the restrictions and limitations provided for in this title and in any other law

      of this state.” C.R.S. 31-15-101(2).

   46. Statutes that grant statutory towns powers are strictly construed and any doubt as to a

      statutory town’s power must be resolved against it. See City of Aurora v. Bogue, 489

      P.2d at 1296; and Estes Park Chamber of Commerce v. Town of Estes Park, 199 P.3d 11.

   47. Town boards must first adopt a resolution determining that the levy of fees will fairly

      distribute costs of the authority’s activities among persons and businesses benefitted

      thereby and will not impose an undue burden on any particular group of persons or

      businesses. C.R.S. 29-1-204.5 (2)(e)(I).

   48. The Defendant has the power to make its own ordinances, however, the ordinances must

      not be inconsistent with the laws of the state of Colorado. C.R.S. 31-15-103. The

      Defendant’s power to establish terms for business licensing fees, workforce housing

      authorities, and impact fees for capital facilities is limited.

   49. The Ordinance is inconsistent with preempting Colorado statutory law regarding the

      establishment of capital facilities impact fees (C.R.S. 29-20-102 to 29-20-104.5), the

      establishment of workforce housing impact fees (C.R.S. 29-1-204.5), the municipal

      power to regulate business and occupations via licensing (C.R.S. 31-15-501(c)), and the

      legislative declarations on Regulatory Impairment of Property Rights (C.R.S. 29-20-201

      et. seq.).




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   50. The Ordinance is also inconsistent with CRS 29-4-1102 that declares affordable housing

      for essential workers to be a statewide problem best suited for a statewide solution via

      creation of a middle-income housing authority that can increase the supply of affordable

      housing by raising large amounts of private sector capital to fund projects.

   51. C.R.S. 29-20-104.5 limits the imposition of an impact fee to new developments only.

      The statute further requires that impact fees be applied to a broad class of property and

      that such a fee may only be imposed if it is intended to defray the expected impacts

      caused by the development.

   52. Title 5, as amended, is inconsistent with controlling state law and thus the defendant is

      preempted from passing such an ordinance.

   53. The statute requires that the impact fee be imposed upon a “broad class of property”

      however, short term rentals are not a broad class of property. They are a specific and

      small class of properties that exist within the Town.

   54. Plaintiff’s licensed vacation homes are not new nor under development, so pursuant to

      the language provided in C.R.S. §29-20-104.5, an impact fee cannot be applied to

      Plaintiff’s property because the fee is not being imposed to defray or offset the expected

      impacts of a new development. The property at issue is not a proposed development, but

      one that has been owned and in use for several years prior to the passage of Title 5.

   55. Impact fees, as defined by Colorado state law, are only ever applied when a new

      development is under consideration or construction. They have not been imposed on

      properties that have already paid all appropriate fees and taxes to the town in order to

      remain in operation.




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   56. The Defendant currently levies only one other impact fee, the Fire Protection Fee. This

       fee is directed to the Estes Valley Fire Protection District and is collected under and

       Intergovernmental Agreement. This Fire Protection Fee is specifically authorized by

       Colorado Statutes 29-20-104.5 and 32-1-1002(1) (d.5) for special fire protection, rescue,

       and emergency services districts such as the Estes Valley Fire Protection District. This

       Fee is an important distinction from the Impact Fee related to vacation homes because the

       Defendant is a statutory town and, as such, merely has the authority granted to it by state

       statute or by necessary implication.

   57. “An individual private property owner should not be required, under the guise of police

       power regulation of the use and development of property, to bear burdens for the public

       good that should more properly be borne by the public at large.” (C.R.S. 29-20-201 (2)).

   58. “Increasing affordable rental workforce housing through the activities of the authority

       and the exercises of its plenary powers pursuant to this part 11 is in the public interest

       and is a matter of statewide concern.” (C.R.S. 29-4-1102 (h)).

   59. The Town’s passage of the impact fee violates controlling Colorado state law because

       they are requiring a small class of private property owners to bear the burden of the

       workforce affordable housing crisis for the public good, instead of putting this burden on

       all property owners within the town.

   60. Plaintiffs are entitled to declaratory and injunctive relief to that effect.

                                 SECOND CAUSE OF ACTION
                (Violation of Colorado State Statute – Unconstitutional Taxation)

   61. The Plaintiff repeat and reiterate each and every allegation set forth in Paragraph 1

       through 60 above as if said allegations were fully and at length set forth herein




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   62. Taxpayer’s Bill of Rights of the Colorado (“TABOR”) as codified by Colo. Const. art. X,

       § 20, requires a vote of the people (Colo. Const. art. X, § 20(4)(a)) before the State or any

       local government may: create new debt, levy new taxes, increase tax rates, or institute tax

       policy changes directly causing a net tax revenue gain.

   63. Defendant, a statutory town, is subject to TABOR’s voting requirements because it is a

       local government that is authorized to levy taxes and that has levied a tax on licensed

       vacation homes.

   64. The Impact Fee on STRs is a tax levied by Defendants and as such is subject to

       TABOR’s requirement that a public vote be taken before it is enacted because it is a tax

       policy change resulting in a net revenue gain to the Town. Colo. Const. art. X, § 20(4)(a)

   65. Before enacting Title 5, as amended, without a vote of the people, the Town violated

       TABOR and therefore Title 5, as amended, is unconstitutional.

   66. Plaintiffs, and other similarly situated plaintiffs, have been forced to pay the

       unconstitutional tax on licensed vacation homes.

   67. Plaintiffs are entitled to declaratory and injunctive relief to that effect.

                                       THIRD CAUSE OF ACTION
                                      (Violation of Equal Protection)

   68. The Plaintiffs repeat and reiterate each and every allegation set forth in Paragraph 1

       through 66 above as if said allegations were fully and at length set forth herein.

   69. The Fourteenth Amendment to United States Constitution provides that “No State shall

       make or enforce any law which shall abridge the privileges or immunities of citizens of

       the United States; nor shall any State deprive any person of life, liberty, or property,

       without due process of law; nor deny to any person within its jurisdiction the equal

       protection of the laws.” U.S. Const. amend. XIV.


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   70. Similarly, the Colorado Construction Article II, Section 25 provides “Due process of law.

      No person shall be deprived of life, liberty, or property, without due process of law.”

      Colo. Const. art. II, § 25.

   71. The Equal Protection Clause of the Fourteenth Amendment provides that no State shall

      `deny to any person within its jurisdiction the equal protection of the laws,' which is

      essentially a direction that all persons similarly situated should be treated alike." City of

      Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439, 105 S.Ct. 3249, 87 L.Ed.2d 313

      (1985) (citing Plyler v. Doe, 457 U.S. 202, 216, 102 S.Ct. 2382, 72 L.Ed.2d 786 (1982))

   72. Title 5, as amended, treats similarly situated owners of residential property differently.

   73. Pursuant to Title 5, as amended, only licensed vacation homeowners who rent their

      homes for less than 30 days must pay an arbitrary Impact Fee while those who rent for

      more than 30 days do not have to pay the Impact Fee, making the difference between the

      two groups based on as little as one day (30 days or less versus 30 days or more).

   74. Regardless of the duration of rental period, the properties are used identically as single-

      family residences. Therefore, the Impact Fee applies to the economic use of the property

      instead of the physical use of the property.

   75. Title 5’s distinction, as it relates to the Impact Fee, between vacation homeowners who

      rent more than or less than 30 days is arbitrary and has no rational basis.

   76. The Defendant’s disparate classification of vacation homeowners who rent for more or

      less than 30 days is a violation of the constitutional guarantee of equal protection under

      the Colorado State and the United States Constitution.




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   77. Additionally, Title 5, as amended, disparately treats vacation homeowners who rent for

       less than 30 days compared to vacation homeowners who rent their homes for 30 days or

       more and there is no legitimate government interest.

   78. Vacation homeowners who rent their homes for 30 days or less and vacation homeowners

       who rent their homes for 30 days or more pay the same property tax rate, utility rates, and

       the like. There are no increased costs to Defendant due to the duration of the rental

       period.

   79. The Defendant has no rational basis for requiring vacation homeowners who rent their

       homes for less than 30 days to pay the impact fee while not charging it to those vacation

       homeowners who rent their homes for 30 or more days or do not rent for compensation.

   80. Plaintiffs (individuals who designed and rent their vacation home rentals for less than 30

       days) and vacation homeowners who rent for more than 30 days that are excluded from

       paying the Impact Fee have a high degree of similarity and no rational person could

       regard the respective groups’ circumstances different enough to justify differential

       treatment on the basis of a legitimate government interest.

   81. Title 5, as amended, deprives Plaintiffs of their constitutional rights secured by the Equal

       Protection Clauses of the Colorado and United States Constitution by arbitrarily and

       irrationally denying equal protection of the law.

   82. Plaintiffs are entitled to declaratory and injunctive relief to that effect.

                                    FOURTH CAUSE OF ACTION
                                 (Violation of Substantive Due Process)

   83. The Plaintiffs repeat and reiterate each and every allegation set forth in Paragraphs 1

       through 81 as if said allegations were fully and at length set forth herein.




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   84. The Fourteenth Amendment to United States Constitution provides that “No State shall

      make or enforce any law which shall abridge the privileges or immunities of citizens of

      the United States; nor shall any State deprive any person of life, liberty, or property,

      without due process of law; nor deny to any person within its jurisdiction the equal

      protection of the laws.” U.S. Const. amend. XIV.

   85. Similarly, the Colorado Construction Article II, Section 25 provides “Due process of law.

      No person shall be deprived of life, liberty, or property, without due process of law.”

      Colo. Const. art. II, § 25.

   86. “A person’s interest in a benefit is a “property” interest for due process purposes if there

      are such rules or mutually explicit understandings that support his claim of entitlement to

      the benefit . . . .” Perry v. Sindermann, 408 U.S. 593, 601 (1972); accord Bd. of Regents

      of State Colls. v. Roth, 408 U.S. 564, 577–78 (1972).

   87. The Fifth Amendment to the United States Constitution provides, “nor shall private

      property be taken for public use without just compensation.” U.S. Const. amend. V. Just

      compensation for a taking of private property was made applicable to the States through

      the Fourteenth Amendment. Krupps v. Breckenridge Sanitation Dist., 19 P.3d 687

      (2001). See also Chicago, B. & Q. R.R. Co. v. Chicago, 166 U.S. 226, 239.

   88. A “taking” under the Takings Clause, which is designed to assure that the government

      may not force some people alone to bear public burdens which, in all fairness and justice,

      should be borne by the public as a whole. Krupps v. Breckenridge Sanitation Dist., 19

      P.3d 687 (2001). See also Dolan v. City of Tigard, 512 U.S. 374.

   89. A taking unquestionably occurs when an entity clothed with the power of eminent

      domain substantially deprives a property owner of the use and enjoyment of that



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      property. Krupps v. Breckenridge Sanitation Dist., 19 P.3d 687 (Colo. 2001). See also

      Fowler Irrevocable Trust 1992-1 v. City of Boulder, 17 P.3d 797, 801 (Colo. 2002); City

      of Northglenn v. Grynberg, 846 P.2d 175, 178 (Colo.1993).

   90. Private property ownership is a fundamental right in the United States.

   91. Private property is an individual entitlement grounded in state law that cannot be

      removed except for cause. C.R.S. § 29-20-201(1).

   92. The ability to lease property is a fundamental privilege of property ownership. Terrace v

      Thompson 263 US 197 (1923).

   93. The rental of vacation home properties on a short-term basis is an established practice in

      the Defendant and also the entirety of the Estes Valley.

   94. The right of due process prohibits arbitrary or irrational legislation affecting private

      property.

   95. Title 5, as amended, requires that Plaintiffs who rent their vacation homes for less than 30

      days to pay an Impact Fee, while others similarly situated who rent their homes for more

      than 30 days do not have to pay am Impact Fee.

   96. A permit or license is nothing more than the permission or privilege to do what otherwise

      would be lawful.

   97. The rental of property is a fundamental privilege of property ownership and would not

      otherwise be unlawful but for Title 5, as amended.

   98. By requiring Plaintiffs, and others similarly situated who rent their vacation homes for

      less than 30 days, to pay the yearly Impact Fee, violates a core right of property

      ownership which includes the right to convey to others the right to use and occupy a

      property for an agreed upon term.



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   99. Title 5, as amended, by requiring Plaintiffs to obtain a vacation home license and pay an

      Impact Fee prior to renting out their vacation homes, impacts residents and out-of-state

      residents, infringes upon the fundamental right to use of private property, specific to any

      home that is not a permanent residence, in violation of the takings clause of the Fifth

      Amendment, incorporated by the Fourteenth Amendment to the United States

      Constitution. Homeowners, including Plaintiffs, who wish to use their homes for

      themselves or their families for part of the year, and rent it at other times, are prohibited

      from doing so, in violation of their property rights under the Fifth Amendment.

   100.       Plaintiffs are entitled to declaratory and injunctive relief to that effect.

                                    FIFTH CAUSE OF ACTION
                                (Violation of Substantive Due Process)

   101.       The Plaintiffs repeat and reiterate each and every allegation set forth in

      Paragraphs 1 through 99 as if said allegations were fully and at length set forth herein.

   102.       The Fourteenth Amendment to United States Constitution provides that “No State

      shall make or enforce any law which shall abridge the privileges or immunities of citizens

      of the United States; nor shall any State deprive any person of life, liberty, or property,

      without due process of law; nor deny to any person within its jurisdiction the equal

      protection of the laws.” U.S. Const. amend. XIV.

   103.       Similarly, the Colorado Construction Article II, Section 25 provides “Due process

      of law. No person shall be deprived of life, liberty, or property, without due process of

      law.” Colo. Const. art. II, § 25.

   104.       The Fifth Amendment to the United States Constitution provides, “nor shall

      private property be taken for public use without just compensation.” U.S. Const. amend.

      V. Just compensation for a taking of private property was made applicable to the States


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      through the Fourteenth Amendment. Krupps v. Breckenridge Sanitation Dist., 19 P.3d

      687 (2001). See also Chicago, B. & Q. R.R. Co. v. Chicago, 166 U.S. 226, 239.

   105.      A “taking” under the Takings Clause, which is designed to assure that the

      government may not force some people alone to bear public burdens which, in all

      fairness and justice, should be borne by the public as a whole. Krupps v. Breckenridge

      Sanitation Dist., 19 P.3d 687 (2001). See also Dolan v. City of Tigard, 512 U.S. 374.

   106.      A taking unquestionably occurs when an entity clothed with the power of eminent

      domain substantially deprives a property owner of the use and enjoyment of that

      property. Krupps v. Breckenridge Sanitation Dist., 19 P.3d 687 (Colo. 2001). See also

      Fowler Irrevocable Trust 1992-1 v. City of Boulder, 17 P.3d 797, 801 (Colo. 2002); City

      of Northglenn v. Grynberg, 846 P.2d 175, 178 (Colo.1993).

   107.      Private property ownership is a fundamental right in the United States.

   108.      Private property is an individual entitlement grounded in state law that cannot be

      removed except for cause.

   109.      The ability to lease property is a fundamental privilege of property ownership.

      Terrace v Thompson 263 US 197 (1923).

   110.      The rental of vacation home properties on a short-term basis is an established

      practice in the Defendant and also the entirety of the Estes Valley.

   111.      The right of due process prohibits arbitrary or irrational legislation affecting

      private property.

   112.      Title 5, as amended, requires that Plaintiffs who rent their vacation homes for less

      than 30 days to pay an Impact Fee, while others similar situated who rent their homes for

      more than 30 days do not have to pay am Impact Fee.



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   113.      A permit or license is nothing more than the permission or privilege to do what

      otherwise would be lawful.

   114.      The rental of property is a fundamental privilege of property ownership and

      would not otherwise be unlawful but for Title 5, as amended.

   115.      Plaintiffs paid for their Vacation Home Rental License for 2023 for Cabin #1,

      Cabin #2, and Cabin #3. Plaintiffs, paid the Impact Fees for Cabins #1 and #2 on January

      31, 2023 and requested a hearing with the Defendant to discuss the Impact Fee issue

      related to Cabin #3. Defendant accepted the above-noted fees.

   116.      On February 2, 2023, Defendant punitively revoked the vacation home rental

      license for Cabin #3 and threatened criminal enforcement action if it were to be rented

      without a vacation home rental license effectively shutting down one-third of Plaintiff’s

      business. Plaintiffs then tried to pay the impact fee on February 7, 2023 and were told on

      February 9, 2023 payment would not work to renew the vacation home rental license

      and/or “cure” the loss due to non-payment on January 31, 2023.

   117.      Unlike other provisions of Title 5, Title 5, as amended, does not provide an

      enforcement provision related to the Impact Fee and allows the Town absolute discretion

      in arbitrary application.

   118.      Unlike other provisions of Title 5, Title 5, as amended, does not provide a

      mechanism specific to failure to pay the Impact Fee and does not specify that any

      monetary penalties for unpaid fees will be deposited to support “Workforce Housing

      Enterprise.”

   119.      Plaintiff’s Cabin #3, due to its extremely small size of approximately 300 sq feet,

      is unsuitable for any type of full-time housing, including workforce housing.



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   120.       If Defendant’s revocation action is not set aside, Plaintiffs will suffer a net

      financial loss of approximately $30,000 and more per year beginning 2023 due to this

      small business being shut down. If Defendant’s revocation action is not set aside,

      Defendant will suffer a net tax loss of approximately $3,200 ($1,550 in general sales tax

      + $600 in Local Marketing District tax + $1,050 Dedicated “6E” Workforce Housing and

      Childcare tax) and more per year beginning 2023 due to this small business being shut

      down. Revocation of the Cabin #3 Vacation Home License is irrational.

   121.      Plaintiffs are a small family-owned business and the loss of this Vacation Home

      Rental License is a financial hardship for them.

   122.      Title 5, as amended, and as applied to Plaintiffs revocation of its Vacation Home

      Rental License based on the payment of an Impact Fee prior to renting out their vacation

      homes, infringes upon the fundamental right of Plaintiffs to their use of their private

      property, in violation the takings clause of the Fifth Amendment, incorporated by the

      Fourteenth Amendment to the United States Constitution. Plaintiffs, wishing to use their

      homes for themselves or their families for part of the year, and rent it at other times, like

      other similarly situated homeowners, are prohibited from doing so, in violation of their

      property rights under the Fifth Amendment.

   123.      Plaintiffs are entitled to declaratory and injunctive relief to that effect.



                                 SIXTH CAUSE OF ACTION
                             (Violation of Substantive Due Process)

   124.      The Plaintiffs repeat and reiterate each and every allegation set forth in

      Paragraphs 1 through 123 as if said allegations were fully and at length set forth herein.




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   125.      The Fourteenth Amendment to United States Constitution provides that “No State

      shall make or enforce any law which shall abridge the privileges or immunities of citizens

      of the United States; nor shall any State deprive any person of life, liberty, or property,

      without due process of law; nor deny to any person within its jurisdiction the equal

      protection of the laws.” U.S. Const. amend. XIV.

   126.      Similarly, the Colorado Construction Article II, Section 25 provides “Due process

      of law. No person shall be deprived of life, liberty, or property, without due process of

      law.” Colo. Const. art. II, § 25.

   127.      The Fifth Amendment to the United States Constitution provides, “nor shall

      private property be taken for public use without just compensation.” U.S. Const. amend.

      V. Just compensation for a taking of private property was made applicable to the States

      through the Fourteenth Amendment. Krupps v. Breckenridge Sanitation Dist., 19 P.3d

      687 (2001). See also Chicago, B. & Q. R.R. Co. v. Chicago, 166 U.S. 226, 239.

   128.      A “taking” under the Takings Clause, which is designed to assure that the

      government may not force some people alone to bear public burdens which, in all

      fairness and justice, should be borne by the public as a whole. Krupps v. Breckenridge

      Sanitation Dist., 19 P.3d 687 (2001). See also Dolan v. City of Tigard, 512 U.S. 374.

   129.      A taking unquestionably occurs when an entity clothed with the power of eminent

      domain substantially deprives a property owner of the use and enjoyment of that

      property. Krupps v. Breckenridge Sanitation Dist., 19 P.3d 687 (Colo. 2001). See also

      Fowler Irrevocable Trust 1992-1 v. City of Boulder, 17 P.3d 797, 801 (Colo. 2002); City

      of Northglenn v. Grynberg, 846 P.2d 175, 178 (Colo.1993).

   130.      Private property ownership is a fundamental right in the United States.



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   131.       Private property is an individual entitlement grounded in state law that cannot be

      removed except for cause.

   132.       The ability to lease property is a fundamental privilege of property ownership.

      Terrace v Thompson 263 US 197 (1923).

   133.       The rental of vacation home properties on a short-term basis is an established

      practice in the Defendant and also the entirety of the Estes Valley.

   134.       The right of due process prohibits vague, arbitrary, or irrational legislation

      affecting private property.

   135.       Due process prohibits statutes that permit or encourage arbitrary or erratic

      enforcement, placing virtually unfettered discretion in the hands of enforcement

      authorities.

   136.       Title 5, as amended, requires that Plaintiffs who rent their vacation homes for less

      than 30 days to pay an Impact Fee, while others similar situated who rent their homes for

      more than 30 days do not have to pay am Impact Fee.

   137.       A permit or license is nothing more than the permission or privilege to do what

      otherwise would be lawful.

   138.       The rental of property is a fundamental privilege of property ownership and

      would not otherwise be unlawful but for Title 5, as amended. C.R.S. § 29-20-201.

   139.       Plaintiffs timely applied and paid for their Vacation Home Rental License for

      2023 for Cabin #1, Cabin #2, and Cabin #3. Plaintiffs, under contest, paid the Impact

      Fees for Cabins #1 and #2 on January 31, 2023 and requested a hearing with the

      Defendant to discuss the Impact Fee issue related to Cabin #3. Defendant accepted the

      above-noted fees.



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   140.      On February 2, 2023, Defendant punitively revoked the vacation home rental

      permit for Cabin #3 and threatened criminal enforcement action if it were to be rented

      without a vacation home rental permit effectively shutting down one-third of Plaintiff’s

      business. Plaintiffs then tried to pay the Impact Fee on February 7, 2023 and were told

      on February 9, 2023 payment would not work to renew the vacation home rental permit

      and/or “cure” the loss due to non-payment on January 31, 2023.

   141.      Unlike other provisions of Title 5, Title 5, as amended, does not provide an

      enforcement provision related to the Impact Fee and allows the Town absolute discretion

      in arbitrary application.

   142.      Unlike other provisions of Title 5, Title 5, as amended, does not provide a

      mechanism specific to failure to pay the Impact Fee and does not specify that any

      monetary penalties for unpaid fees will be deposited to support “Workforce Housing

      Enterprise.”

   143.      Plaintiff’s Cabin #3, due to its extremely small size of approximately 300 sq feet,

      is unsuitable for any type of full-time housing, including workforce housing.

   144.      Plaintiff’s Cabin #3 generates approximately $30,000 in revenue during each

      tourist season in Estes Park.

   145.      Defendant will suffer a loss of approximately $1200 in 2023 Local Marketing

      District workforce housing lodging tax and $1550 in general sales tax due to this small

      business being shut down.

   146.      Plaintiffs are a small family-owned business and the loss of this Vacation Home

      Rental License is a financial hardship for them.




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   147.       Plaintiffs completed the various town-required processes to obtain all necessary

      land use approvals, development approvals, building permits, special use permits,

      business permits, STR licenses, Certificate of Occupancies, and the like prior to

      enactment of the amendment to Title 5. Plaintiffs were induced by Town policies at the

      time to purchase and restore what was then completely damaged, unproductive, unsafe/

      unhealthy property, not fit for occupancy of any kind, into a short term rental retreat. All

      of these processes required a significant investment of both time and money. All of these

      processes were completed prior to the Defendant amending Title 5 to include the Impact

      Fee.

   148.       The selection of only charging the Impact Fee to vacation homeowners who rent

      for less than 30 days is entirely arbitrary.

   149.       Title 5’s application, including payment of the Impact Fee, only to vacation

      homeowners who rent for 30 days or less is not supported by any reasonable or legitimate

      purpose.

   150.       Upon information and belief, the loss of the vacation rental home permit for

      Cabin #3 will result in a loss of approximately $30,000 in revenue for Plaintiffs.

   151.       Title 5, as amended, and as applied to Plaintiffs revocation of its Vacation Home

      Rental License based on the payment of an Impact Fee prior to renting out their vacation

      homes, infringes upon the fundamental right of Plaintiffs to their use of their private

      property, in violation The Takings Clause of the Fifth Amendment, incorporated by the

      Fourteenth Amendment to the United States Constitution. Plaintiffs, wishing to use their

      homes for themselves or their families for part of the year, and rent it at other times, like




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      other similarly situated homeowners, are prohibited from doing so, in violation of their

      property rights under the Fifth Amendment.

   152.       Title 5, as amended, and as applied to Plaintiffs revocation of its Vacation Home

      Rental License based on the payment of an Impact Fee prior to renting out their vacation

      homes Title 5, as amended, upsets Plaintiffs’ reasonable investment backed expectations

      in acquiring their three properties in reliance on the Town regulations resulting in

      unanticipated and unsustainable losses, infringes upon the fundamental right of Plaintiffs

      to use their private property to obtain financial benefit therefrom, in violation of the

      takings clause of the Fifth Amendment without just compensation, incorporated by the

      Fourteenth Amendment to the United States Constitution.

   153.       Plaintiffs are entitled to declaratory and injunctive relief to that effect.

                                   SEVENTH CAUSE OF ACTION
                                    (Violation of Commerce Clause)

   154.       The Plaintiffs repeat and reiterate each and every allegation set forth in

      Paragraphs 1 through 152 as if said allegations were fully and at length set forth herein.

   155.       The Commerce Clause of the United States Constitution gives Congress the

      power “to regulate commerce with foreign nations, and among the several states, and

      with the Indian tribes,” effectively gives Congress the broad power to regulate interstate

      commerce and restricts states from impairing interstate commerce. U.S. Const., art 1, § 8,

      cl 3.

   156.       The dormant Commerce Clause is an implicit restraint on state authority to

      regulate interstate commerce, even in the absence of a conflicting federal statute. U.S.

      Const. art. 1, § 8, cl. 3.




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   157.       Two primary principles mark the boundaries of a state's authority to regulate

      interstate commerce under the dormant Commerce Clause: a state may not discriminate

      against interstate commerce and may not impose undue burdens on interstate commerce.

      Hignell-Stark v. City of New Orleans, 46 F.4th 317 (2022)

   158.       The ability to lease property is a fundamental privilege of property ownership.

      Terrace v Thompson 263 US 197 (1923).

   159.       Plaintiffs, prior to amendment of Title 5, as amended, entered into contractual

      relationships with out-of-state rental guests for the beneficial use of the property by

      Plaintiffs.

   160.       Title 5, as amended, requires payment of an Impact Fee and Vacation Home

      Rental License fee yearly if a vacation homeowner rents 30 days or less but not if the

      homeowner rents for 30 days or more.

   161.       As a punitive action, on February 2, 2023, Defendant revoked Plaintiffs’ Vacation

      Home License on Cabin #3 and threatened criminal action if Cabin #3 was rented without

      a new valid Vacation Home License in alleged violation of Title 5, as amended (Chapter

      5.20.110(f)). The act of Defendant revoking Plaintiffs Vacation Home Rental License

      impaired Plaintiffs contractual relationships with out-of-state guests in violation of the

      dormant Commerce Clause because it prevented performance of the contracts with the

      out-of-state guests in violation of interstate commerce, which was not contemplated at the

      time of the offering by Plaintiffs, and was punitive in relation to local benefits.

   162.       Title 5, as amended, retroactively upset Plaintiffs’ settled contractual expectations

      concerning revenue and income and investment by out of state residents.

   163.       Plaintiffs are entitled to declaratory and injunctive relief to that effect.



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                                   EIGHTH CAUSE OF ACTION
                     (Violation of Contracts Clause and Colorado State Statute)

   164.       The Plaintiffs repeat and reiterate each and every allegation set forth in

      Paragraphs 1 through 162 as if said allegations were fully and at length set forth herein.

   165.       The Contract Clause of the United States Constitution provides that, “[no] state

      shall … pass any … law impairing the obligation of contracts.” U.S. Const., art 1, § 10.

   166.       The Colorado Constitution provides that “[n]o . . . law impairing the obligation of

   contracts . . . shall be passed by the general assembly.” Colo. Const. art. II, § 11

   167.       In construing the impairment of contracts clause of the Colorado Constitution, the

      Colorado Supreme Court has looked to the decisions of the United States Supreme Court

      interpreting the Contracts Clause of the United States Constitution. See In re Estate of

      DeWitt, 54 P.3d 849, 858-59 (Colo. 2002)

   168.       “The Contracts Clause restricts the power of States to disrupt contractual

   arrangements.” Sveen v. Melin, 138 S. Ct. 1815, 1821 (2018).

   169.       The ability to lease property is a fundamental privilege of property ownership.

      Terrace v Thompson 263 US 197 (1923).

   170.       Plaintiffs, prior to amendment of Title 5, as amended, entered into contractual

      relationships with rental guests for the beneficial use of the property by Plaintiffs.

   171.       Plaintiffs have a contractual relationship with their management company that

      leases and manages their properties.

   172.       Title 5, as amended, requires payment of an Impact Fee and Vacation Home

      Rental License fee yearly if a vacation homeowner rents 30 days or less but not if the

      homeowner rents for 30 days or more.




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   173.       Prior to enactment of the amendment to Title 5 requiring payment of two annual

      fees - a yearly Impact Fee alongside a yearly Vacation Rental Home License fee,

      Plaintiffs had entered into contracts to rent out Cabin #3 for much of the summer season

      of 2023.

   174.       These contracts for bookings related to Cabin #3 were entered into months prior

      to enactment of the Impact Fee by Title 5 as amended on March 22, 2022.

   175.       Each of the contracts for vacation rental obligated Plaintiffs to rent Cabin #3 for

      less than 30 days.

   176.       Title 5, as amended, impaired Plaintiffs contractual relationships in violation of

      the Contract Clause because it prevented performance and created unanticipated losses

      and potential claims against Plaintiffs that were not contemplated at the time of the

      offering by Plaintiff.

   177.       Title 5, as amended, upsets Plaintiffs’ settled contractual expectations concerning

      their future revenue and income.

   178.       The economic harm to Plaintiffs caused by retroactive application of the

      immediate applicability of the amendment to Title 5, results in substantial financial

      damage and loss to Plaintiffs, including rental income loss and property resale value loss

      and related undue and unjust hardship.

   179.       When Plaintiffs entered into their pre-enactment rental agreements, they could not

      have reasonably foreseen that Defendant would impose an additional “fee” in the form of

      a yearly impact fee on only certain properties in the Town – only those who rent for 30

      days or less.




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   180.         Title 5, as amended, does not provide temporal limitations on its application or

        grandfather existing contracts for STRs to avoid any retroactive liability and impact

        under U.S. Const., art 1, § 10 and Colo. Const. art. II, § 11.

   181.         The retroactive impairment of Plaintiffs contractual relationships by imposition of

        an Impact Fee is not rationally related to any legitimate public purpose.

   182.         Defendant had a less restrictive means of serving its alleged goals to avoid

        retroactive impairment of contracts in violation of U.S. Const., art 1, § 10 and Colo.

        Const. art. II, § 11.

   183.         While Statutory Towns have the power to make ordinances PROVIDED they are

   not inconsistent with the laws of the state of Colorado (C.R.S. 31-15-103), Title 5, as

   amended, restricts Plaintiffs well-established and settled property rights that existed before

   the laws adoption and is therefore in violation of Colo. Const. art. II, § 11.

   184.         Plaintiffs are entitled to declaratory and injunctive relief to that effect.


   WHEREFORE, Plaintiffs demand judgment against Defendant as follows:

   1.       A declaration that Title 5, as amended, to include an Impact Fee is unconstitutional on

            its face and as applied to all homeowners in the Town rendering it void;

   2.       A declaration that Title 5, as amended, to include an Impact Fee violates Plaintiffs’

            rights under the United States and Colorado Constitutions;.

   3.       A preliminary and permanents injunction prohibiting Defendants from enforcing Title

            5, as amended;

   4.       Alternatively, Plaintiffs seek reinstatement of their Vacation Home Rental license

            upon payment of such impact fee;

   5.       An actual award of damages to be determined at trial;


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   6.      An award of attorneys’ fees, expert fees, and all other expenses reasonably incurred

           in the connection with this action;

   7.      Such other relief as this Court deems just and proper.


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